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                                                           April 30, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        We write to respectfully request the Court to issue an order to the MDC directing it to
accept two hard drives from defense counsel that contain the non-Highly Confidential discovery in
this case for Ms. Maxwell’s use at the MDC.

        In an effort to facilitate Ms. Maxwell’s review of the discovery, defense counsel have
created a master set of two hard drives that contain a complete set of the discovery produced by
the government so far, excluding the materials marked Highly Confidential, which Ms. Maxwell is
not permitted to possess in the MDC pursuant to the terms of the Protective Order. The master
drives are easier to use than her existing hard drives because they collect all of the material in one
place and organize the documents in a more user-friendly format. For example, the November 18,
2020 production containing roughly 2.2 million pages was produced in load file format, which
contains images of individual pages of documents in native file format, image file format, and
other formats. The hard drives organize these files by document, as opposed to by page, and
eliminate duplicative file formats so that Ms. Maxwell will not have to add countless hours to her
review.

        Defense counsel would like to send these hard drives to Ms. Maxwell for her to use in the
MDC. We were informed by the MDC Legal Department that they are only permitted to accept
hard drives that are loaded and certified by the U.S. Attorney’s Office. We have conferred with
the government, which has advised that it does not object to the defense making an application to
the Court to issue an order directing the MDC to accept the hard drives. The government
requested, however, that the Court allow MDC legal counsel the opportunity to note their
objections to the Court.
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          Accordingly, we respectfully request that the Court issue an order directing the MDC to
  accept the master hard drives either from defense counsel or from the government. We will send a
  copy of this letter to the MDC Legal Department so that they can note any objections they may
  have.

         Thank you for your attention to this matter.

                                                          Sincerely,


                                                            /s/ Christian Everdell     .
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  cc:    All Counsel of Record (By ECF)
         MDC Legal Department
